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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In Re:                                        )
                                              )      No. 24-08292
Shirley Marie Mackey,                         )      Janet S. Baer
                                              )      Chapter 13
               Debtor(s).                     )      Geneva

                                  NOTICE OF MOTION

To: SEE ATTACHED SERVICE LIST

       PLEASE TAKE NOTICE that on September 6, 2024 at 9:30 AM, I will appear
before the Honorable Janet S. Baer, or any judge sitting in that judge’s place, either in
Courtroom 615 of the Everett McKinley Dirksen United States Courthouse, 219 S.
Dearborn Street, Chicago, IL 60604, or electronically as described below, and present the
motion of Debtor for Extension of Time to File Plan, a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

       To appear by video, use this link: https://www.zoomgov.com/join. Then enter the
meeting ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
828- 7666. Then enter the meeting ID and password.

       Meeting ID and passcode. The meeting ID for this hearing is: 160 731 2971,
Passcode is 587656. The meeting ID and passcode can also be found on the judge’s page on
the court’s website.

       If you object to this motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a
Notice of Objection is timely filed, the motion will be called on the presentment date. If no
Notice of Objection is timely filed, the court may grant the motion in advance without calling
it.
                                                              /s/ Vaughn White
                                                              Vaughn White
                                                              VW LAW LLC
                                                              Attorney for Debtor(s)
                                                              1700 Park St, Suite 203
                                                              Naperville, IL 60563
                                                              630-429-9010
                                                              vaughn@vaughnwhite.com
                                                              ARDC # 6198291


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                              CERTIFICATE OF SERVICE

       I, Vaughn A. White, an attorney, certify that I served a copy of this notice and the
attached motion on each entity shown on the attached list at the address shown and by the
method indicated on the list on August 23, 2024.


                                            /s/ Vaughn White
                                            Vaughn White




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           Case 24-08292                Doc 20          Filed 08/16/24 Entered
                                                          Document     Page 3 08/17/24
                                                                               of 6    00:12:11 Desc Imaged
                                                       Certificate of Notice               Page 3 of 4
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 24-08292-JSB
Shirley Marie Mackey                                                                                                   Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 14, 2024                                               Form ID: 309I                                                              Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 16, 2024:
Recip ID                 Recipient Name and Address
db                     + Shirley Marie Mackey, 4325 Bayhead Ct, Aurora, IL 60504-5084

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: vaughn@vaughnwhite.com
                                                                                        Aug 14 2024 23:03:00      Vaughn A White, Vw Law LLC, 1700 Park St,
                                                                                                                  Suite 203, Naperville, IL 60563
tr                     + Email/Text: mcguckin_m@lisle13.com
                                                                                        Aug 14 2024 23:04:00      Glenn B Stearns, 801 Warrenville Road Suite 650,
                                                                                                                  Lisle, IL 60532-4350
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Aug 14 2024 23:05:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
30876748                  Email/Text: cs@aldouslegal.com
                                                                                        Aug 14 2024 23:04:00      Aldous and Associates, PLLC, Attn: Bankruptcy,
                                                                                                                  PO Box 171374, Holladay, UT 84117-1374
30876749               + EDI: CAPITALONE.COM
                                                                                        Aug 15 2024 02:40:00      Capital One, PO Box 30285, Salt Lake City, UT
                                                                                                                  84130-0285
30876750               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Aug 14 2024 23:07:08      Credit One Bank, 6801 S Cimarron Rd, Las Vegas,
                                                                                                                  NV 89113-2273
30876751                  Email/Text: bankruptcy@nationalcreditsystems.com
                                                                                        Aug 14 2024 23:03:00      National Credit Systems, Inc., Attn: Bankruptcy,
                                                                                                                  P.O. Box 672288, Atlanta, GA 30006
30876752               + Email/PDF: RACBANKRUPTCY@BBANDT.COM
                                                                                        Aug 14 2024 23:06:59      Regional Acceptance Corp, Attn: Bankruptcy 1424
                                                                                                                  E Firetower Rd, Greenville, SC 27858-4105

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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           Case 24-08292              Doc 20         Filed 08/16/24 Entered
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                                                                            of 6    00:12:11 Desc Imaged
                                                   Certificate of Notice              Page 4 of 4
District/off: 0752-1                                              User: admin                                                            Page 2 of 2
Date Rcvd: Aug 14, 2024                                           Form ID: 309I                                                         Total Noticed: 9

Date: Aug 16, 2024                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 14, 2024 at the address(es) listed
below:
Name                             Email Address
Glenn B Stearns
                                 stearns_g@lisle13.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov

Vaughn A White
                                 on behalf of Debtor 1 Shirley Marie Mackey vaughn@vaughnwhite.com
                                 vaughn@vaughnwhite.com;paralegal@vaughnwhite.com;VWLAWLLC@jubileebk.net


TOTAL: 3
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

IN RE:                                                 )
                                                       )      Case No.        23-08292
SHIRLEY MARIE MACKEY,                                  )
          Debtor                                       )      Chapter 13
                                                       )      Judge Janet S. Baer

                         MOTION TO EXTEND TIME TO FILE PLAN

         NOW COMES the Debtor, Shirley Marie Mackey, by attorney Vaughn A. White, and

moves this Court to grant an extension until September 6, 2024, to file Debtor’s Chapter 13 Plan.

In support of this Motion, the Debtor respectfully states and alleges as follows:

         1. On June 4, 2024, Debtor filed a Chapter 7 Petition.

         2. On July 14, 2024, Debtor filed a Motion to Convert the case to one under Chapter 13.

         3. On August 9, 2024, Debtor’s motion was granted, and the matter was converted to a

            Chapter 13 case.

         4. Debtor’s Chapter 13 Plan is due on August 23, 2024.

         5. Debtor and Debtor’s Counsel need additional time to gather information and review

            and/or amend Debtor’s Schedules and to file Debtor’s Plan.

         6. Debtor, therefore, respectfully requests additional time be granted to September 6,

            2024, to file Debtor’s Plan.

         WHEREFORE, Debtor prays for the following relief:

         A. That Debtor be granted until September 6, 2024, to file Plan, and other documents; and

         B. For such other and further relief as this Court deems equitable and just.



                                                              Respectfully Submitted,

                                                              /s/ Vaughn A. White
                                                              Vaughn A. White
                                                              Attorney for Debtor
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Vaughn A. White
Illinois ARDC # 6198291
VW LAW LLC
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Naperville, IL 60563
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